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13   a British Virgin Islands Company
14
15                      UNITED STATES DISTRICT COURT
16                    SOUTHERN DISTRICT OF CALIFORNIA

17
     EDUARD YURIEVICH                          Case No.: '23CV1946 W       SBC
18   KHUDAINATOV and
19   MILLEMARIN INVESTMENTS                    MEMORANDUM IN SUPPORT OF
     LTD., A BRITISH VIRGIN                    MOTION FOR RETURN OF
20   ISLANDS COMPANY,                          PROPERTY PURSUANT TO
21                                             FEDERAL RULE OF CRIMINAL
                 Petitioners,                  PROCEDURE 41(g)
22
23         vs.                                 DEMAND FOR HEARING/
                                               JURY TRIAL
24   UNITED STATES OF AMERICA,
25                                             Name of Judicial Officer:
                 Respondent.                   Courtroom Number:
26                                             Date & Time of Hearing:
27
28
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 1                                       PRELIMINARY STATEMENT
 2         More than a year and a half ago, the Department of Justice (“DOJ”)
 3   wrongfully seized the Motor Yacht Amadea (International Maritime Organization
 4   No. 1012531) (the “Amadea”), an asset valued by the government at $330 million.
 5   The Amadea is owned by Petitioner Eduard Khudainatov, a Russian national who
 6   is not, and has never been, sanctioned in the United States. He is not under
 7   indictment or a party to any civil or regulatory proceedings. Instead of following
 8   the facts wherever they led, the government reverse-engineered a hasty
 9   investigation to garner “facts” to fit the false narrative that Mr. Khudainatov
10   wrongfully acted as a straw owner to hide the ownership of a sanctioned individual.
11         Since September 2022, Petitioners’ counsel has engaged in substantive
12   discussions with the government and has demonstrated that this theory was wrong:
13   that Mr. Khudainatov owns the Amadea lawfully, and not on anyone else’s behalf.
14   The government has since concluded its investigation of Mr. Khudainatov by letter
15   dated September 28, 2023:
16          Dear Mr. Ford and Ms. Jarusinsky,


17                  We write regarding the investigation run by the Task Force KleptoCapture component of
            the U.S. Department of Justice (hereinafter "the Department") into your client, Eduard
            Khudainatov, regarding possible violations of the International Emergency Economic Powers
18          Act, 50 U.S.C. § 1701 et. seq. ("IEEPA"), as well as money laundering offenses under 18 U.S.C.
            §§ 1956 and 1957, relating to your client's acquisition, sale, rental, or maintenance of the M/Y
19          Amadea. Based on the information that the Department has learned to date, the Department has
            closed its criminal investigation of your client in this matter. This letter is limited to your client
            and is not applicable to any other person or entity. If the Department learns of additional
20          information, it may reopen its investigation.

21                                                               Sincerely,

                                                                 Isl Michael W Khoo
22                                                               Michael W. Khoo
                                                                 Co-Director, Task Force KleptoCapture
23                                                               Isl David Lim

24
                                                                 David Lim
                                                                 Co-Director, Task Force KleptoCapture

25                                                               U.S. DEPARTMENT OF JUSTICE


26   Given the closure of this investigation, the government has now acknowledged that
27   it cannot prove the legal basis it used to seize the Amadea, and thus has no basis to
28
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 1   forfeit it. Under these circumstances, even if the seizure was lawful, Mr.
 2   Khudainatov is presumed to have the right to the return of his property.
 3         But the seizure was not lawful. This memorandum details how the
 4   government used a flawed theory set forth in a knowingly false and misleading
 5   affidavit signed by Federal Bureau of Investigation (“FBI”) Special Agent Timothy
 6   Bergen in support of its request for a seizure warrant (the “Bergen Affidavit”).1 The
 7   theory in the Bergen Affidavit is that Mr. Khudainatov sold the Amadea to a
 8   sanctioned individual, Suleiman Kerimov, in August 2021, and that Mr.
 9   Khudainatov became the straw owner to conceal Kerimov’s ownership. But this
10   sale never happened (Mr. Khudainatov and Kerimov do not even know each other)
11   and Kerimov does not own the vessel, as Kerimov has asserted publicly.2 In support
12   of this theory, the government falsely claimed that crew members said Kerimov
13   owned the vessel, when in fact, these crew members said nothing of the sort and, in
14   any event, would not have the basis for knowing the identity of the owner. The
15   government then relied on an internal change in corporate structure resulting in a
16   new certificate of ownership being filed, and vague marketplace rumors based on
17   this change, as evidence of a sale that simply never occurred.
18         The Amadea is, in fact, owned by Petitioner Millemarin Investments Ltd.
19   (“Millemarin”), which is beneficially owned by Mr. Khudainatov, who is not
20
21   1
       Two Affidavits of Timothy Bergen have been filed relating to the Amadea: one in
22   the United States dated April 13, 2022, which is redacted, and one in Fiji dated
23   April 22, 2022, which is not redacted. Based on length and number of paragraphs,
     they appear to be substantially similar to one another. Mentions of the “Bergen
24   Affidavit” in the text refer collectively to both versions, unless the reference is
25   only to the “U.S. Bergen Affidavit.” Citations to the Fiji version will be “Bergen
     Aff.” Citations to the U.S. version will be “U.S. Bergen Aff.”
26   2
       Aleksandra Ippolitova, The Yacht Amadea, Allegedly Belonging to Senator
27   Kerimov, was moved to Hawaii, GAZETA.RU (June 20, 2022)
     https://perma.cc/YF6U-XU8R.
28
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 1   sanctioned in the U.S. This fact alone destroys any probable cause to seize it. Given
 2   that the Amadea was not sold to a sanctioned individual, as a matter of law, the
 3   Amadea was not part of any criminal scheme, and therefore was not “involved in”
 4   a transaction in violation of 18 U.S.C. § 1956, nor could it “constitute” “proceeds
 5   traceable” to a specified unlawful activity; as such, it is not subject to forfeiture.
 6   Therefore, the original seizure of the Amadea was wholly improper, and its
 7   continued possession of the vessel is ultra vires.
 8         Petitioners’ counsel undertook every effort to avoid litigation, but, despite
 9   more than a year of discussions during which Petitioners demonstrated to the DOJ
10   that its theory was wrong, the government has refused to return it, forcing
11   Petitioners to file this motion. The reason is obvious: the seizure was political
12   theater, and not based on a proper and fulsome investigation. Following the Russia-
13   Ukraine conflict, the Amadea was targeted by the U.S. government because of its
14   size, opulence, and Russian ownership, and not because of any evidence it was
15   involved in wrongdoing. The Constitution only permits the government to seize
16   property—even property owned by non-Americans—if it can establish probable
17   cause that the property was involved in criminal activity. No such probable cause
18   existed here. Even assuming arguendo that the government could have made that
19   showing, the only alleged violations of law in the Bergen Affidavit involve a
20   handful of payments to vendors for the Amadea on behalf of a sanctioned
21   individual. Therefore, at most, the government would perhaps be entitled to forfeit
22   tens of thousands of dollars, not a $330 million vessel.
23         The government’s wrongful seizure of the Amadea is troubling for another
24   reason: it has cost American taxpayers millions of dollars, as the vessel’s
25   maintenance costs approximately $1 million a month. Mr. Khudainatov has offered
26   to pay these costs while the vessel has been in U.S. custody to ensure that its value
27   is maintained. But the government has not accepted this offer, instead saddling
28
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 1   American taxpayers with these costs. Mr. Khudainatov also offered to pay several
 2   hundred thousand dollars’ worth of outstanding invoices for vendors who provided
 3   ordinary and lawful services to the vessel prior to it being seized, but the
 4   government has prohibited these payments too, leaving non-Russian small business
 5   owners, including American citizens, uncompensated for their services.
 6         The government has now all but conceded that the false and misleading
 7   allegations set forth in the Bergen Affidavit cannot be proven, and yet the
 8   government refuses to release the Amadea. Petitioners respectfully request that the
 9   Court release the vessel to its owner, Mr. Khudainatov, pursuant to Federal Rule of
10   Criminal Procedure 41(g). Because the motion is submitted when no criminal
11   proceedings are pending, the instant filing, while titled as a motion, is to be treated
12   by this Court as a Complaint. 3 Ramsden v. United States, 2 F.3d 322, 324 (9th Cir.
13   1993); see also United States v. Ibrahim, 522 F.3d 1003, 1007-1008 (9th Cir. 2008).
14   Although motions brought under this rule only require a balancing of the equities
15   in order for the court to exercise jurisdiction, here, all four relevant factors,
16   determined in Ramsden, 2 F.3d at 324, weigh in Mr. Khudainatov’s favor: (A) the
17   government displayed a callous disregard for the Fourth Amendment’s probable
18   cause requirement; (B) Mr. Khudainatov has an individual interest in and need for
19   the property; (C) he would be irreparably injured by denying return of his property;
20   and (D) he does not have any other adequate remedy at law for the redress of his
21   grievance. Mr. Khudainatov also requests a Franks hearing to address the false
22   witness statements included in the Bergen Affidavit. With the investigation now
23   closed, the government cannot claim any evidentiary need for the vessel or a legal
24   basis to forfeit it, and Petitioners respectfully request that the Court order the
25   government to return it.
26
27
     3
       Because the instant motion is to be treated as akin to a civil complaint, this filing
     is greater than the 25-page limit afforded to memorandums.
28
                                      4
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 1                              STATEMENT OF FACTS
 2   I.    THE MOTOR YACHT AMADEA
 3         The Amadea is a 348-foot motor yacht, longer than a football field. The
 4   vessel accommodates 16 guests and 40 crew members, 4 and has a range of 8,000
 5   nautical miles, which allows it to cruise between continents. The Amadea carries
 6   392,000 liters of fuel on board, and 77,000 liters of water. It is a large, heavy, and
 7   highly complex floating building with sophisticated and idiosyncratic systems. It
 8   requires a crew with specialized knowledge trained to man this particular vessel to
 9   ensure that it does not needlessly depreciate in value, but more importantly that it
10   is kept in the safest condition possible in order to avoid what could result in an
11   environmental disaster should the vessel catch fire or sink.
12         Mr. Khudainatov commissioned the building of the Amadea in 2012 and has
13   been its ultimate beneficial owner (“UBO”) ever since. While he began his life in
14   poverty in what is currently Kazakhstan, due to his business acumen and workaholic
15   nature, he has amassed significant wealth over his more than forty-year career.5 His
16   investments include over $1 billion in megayachts alone, a fraction of his overall
17
18
19
20   4
       The crew’s leader is the Captain, who oversees the Purser (who manages the
21   yacht’s finances), and five department heads: Chief Officer, Head of Security,
     Chief Engineer, Head Chef, and Chief Stewardess. Each department head oversees
22   others in positions such as security and navigation officers, deckhands, engineers
23   and motormen, kitchen staff, servers, and housekeepers.
     5
       Mr. Khudainatov began his career installing oil rigs in a remote Siberian city.
24   After working his way up, he became a successful businessman and leader in the
25   oil and gas sector, including at Rosneft, Russia’s state-owned oil company. He left
     Rosneft to create Independent Oil and Gas Company (“NNK”), which has grown
26   from thirty employees to more than 30,000 over the past decade. NNK has sold
27   billions of dollars in assets, bringing significant revenues to Mr. Khudainatov
     personally as the sole shareholder.
28
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 1   wealth. Mr. Khudainatov has never been sanctioned by the U.S. or U.K. 6 He was
 2   not included by the U.S. Department of the Treasury on the list it submitted to
 3   Congress in 2018,7 which included senior political figures, “oligarchs” 8 and certain
 4   entities. Nor has the U.S. put forth any evidence that Mr. Khudainatov’s wealth
 5   resulted from any nefarious activity, let alone activity that would violate U.S. law.
 6   In addition, Mr. Khudainatov is not aware of ever having met Suleiman Kerimov,
 7   the sanctioned individual for whom he is allegedly fronting as the straw owner of
 8   the Amadea.
 9         A.      Mr. Khudainatov commissioned the building of the Amadea.
10         Mr. Khudainatov is a long-time boating enthusiast. In the past, he has owned
11   and chartered smaller yachts, typically 30 meters in length. In 2011, he
12   commissioned his first megayacht, which became the Amadea, relying heavily on
13   the expertise of a yacht management company, whose founder he came to know
14
15   6
       Only after false allegations emerged that Mr. Khudainatov was a straw owner of
16   vessels was he sanctioned by the European Union on June 3, 2022. 2022 O.J. (L
17   153) No. 1173, p. 43 of 143, available at https://perma.cc/S2SF-VJYE. In 2017,
     two of his companies in Russia were sanctioned by the U.S. for allegedly doing
18   business with North Korea. The companies successfully petitioned the Office of
19   Foreign Assets Control (“OFAC”), however, and OFAC admitted its error and
     removed them from the SDN list as of March 2, 2020.
20   7
       U.S. DEP’T OF TREASURY, Report to Congress Pursuant to Section 241 of the
21   Countering America’s Adversaries Through Sanctions Act of 2017 (“CAATSA”)
     Regarding Senior Foreign Political Figures and Oligarchs in the Russian
22   Federation and Russian Parastatal Entities (2018), available at
23   https://perma.cc/7QC3-YK7A.
     8
       The term “oligarch” is not defined in the CAATSA or in any other U.S. law or
24   regulation. With respect to Russians, the term has commonly been understood to
25   refer to individuals who benefited from the privatization of state-run industries
     after the collapse of the Soviet Union in the 1990s. CAMBRIDGE DICTIONARY,
26   https://perma.cc/82N9-23QB (last visited Oct. 22, 2023). Mr. Khudainatov did not
27   amass his wealth through the privatization of state-run industries in the 1990s, and
     therefore is not an “oligarch.”
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 1   and trust. On February 24, 2012, Mr. Khudainatov entered into a Shipbuilding
 2   Agreement with Lürssen Shipyards, a highly regarded German shipbuilder, to build
 3   the Amadea. Prior to entering into that contract, Mr. Khudainatov caused the
 4   creation of an entity called Nereo Management Limited (“Nereo”) on February 13,
 5   2012, to act as the buyer in the Shipbuilding Agreement with Lürssen.
 6           Mr. Khudainatov paid €212,824,677 for the Amadea in multiple installments
 7   between 2012 and 2017. During the Amadea’s construction, which took five years,
 8   Mr. Khudainatov was heavily involved in the design process, and hand-selected
 9   many design elements to reflect his personal vision and style, with an eye towards
10   possibly selling the vessel. The Amadea was completed and delivered in 2017.
11           Mr. Khudainatov built the Amadea not only to use it himself, but also because
12   of the prospect of making large profits from selling the vessel. As yachts of this
13   nature take several years to build, there is a strong resale market for buyers who do
14   not want to wait that long to own a new yacht.9 Mr. Khudainatov put the Amadea
15   on the market in 2018, but due to its unique style and the COVID pandemic, it never
16   sold.
17           B.    Mr. Khudainatov transferred the Amadea’s ownership from
18                 Nereo to Millemarin, and remained the UBO.

19           On August 16, 2021, Mr. Khudainatov transferred the owning company of
20   the Amadea from Nereo to Millemarin, but he remained the Amadea’s UBO. Mr.
21   Khudainatov incorporated Millemarin to be the new holding company for the
22
23
     9
      Indeed, as was widely-reported in the press at the time, Russian businessman
     Yuri Shefler sold a superyacht after using the vessel himself and chartering it to
24   others at a profit of at least $150 million. Peter, SERENE Yacht • Fincantieri •
25   2011• Owner Yuri Shefler, SUPERYACHTFAN (last visited Oct. 22, 2023),
     https://perma.cc/MWA8-D2B7; see also Mark Mazzetti & Ben Hubbard, Rise of
26   Saudi Prince Shatters Decades of Royal Tradition, N.Y. TIMES (Oct. 15, 2016),
27   https://www.nytimes.com/2016/10/16/world/rise-of-saudi-prince-shatters-decades-
     of-royal-tradition.html?_r=1.
28
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 1   Amadea. He effectuated this transfer for his personal wealth and estate planning
 2   purposes. After the transfer, Millemarin (and the Amadea) became an asset of Mr.
 3   Khudainatov’s trust called the September Trust, of which he is the named
 4   beneficiary. The day of the transfer, the Amadea’s management company, which
 5   facilitated the transfer, notified Mr. Khudainatov’s office that the transfer from
 6   Nereo to Millemarin was complete, and made clear that he continued to be the
 7   financially responsible party for the Amadea. Notably, the transfer from Nereo to
 8   Millemarin was not accompanied by any of the typical markers of a sale to a third-
 9   party, and there is no evidence that this transfer was a sale to Kerimov, as the Bergen
10   Affidavit claims.
11           After the ownership of the Amadea was transferred from Nereo to
12   Millemarin, Mr. Khudainatov continued to push his brokers to sell the Amadea. He
13   instituted a strategy, frequently used for selling real estate that has been on the
14   market for a long time, to take the vessel off the mass viewing market to prevent
15   the drain of the yacht’s perceived market value after being publicly marketed for so
16   long.
17           C.    Amadea’s management considered charter requests, including a
18                 long-term charter for a single client.

19           In the fall of 2021, as sales efforts continued, Mr. Khudainatov agreed to let
20   the Amadea’s yacht management company offer the Amadea for charters. In the
21   COVID environment, many prospective charterers were interested in traveling to
22   more remote destinations for longer periods of time. One such person who was
23   interested in this type of charter was Gulnara Kerimova, Kerimov’s adult daughter
24   who was not sanctioned at the time. Ms. Kerimova had previously chartered similar
25   yachts, not owned by Mr. Khudainatov.
26           As her preferred megayacht was unavailable for long-term charters, Ms.
27   Kerimova chartered the Amadea. On September 21, 2021, Ms. Kerimova signed an
28
                                       8
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 1   agreement to charter the Amadea from January 14 to February 16, 2022, for €5
 2   million. 10 That charter agreement included the provision that “the Owner is giving
 3   for free as a sea trial 3 days in October in any location at the Owner’s expense
 4   according to vessels [sic] schedule.” The charter agreement also confirmed Ms.
 5   Kerimova’s intention to charter the Amadea for 20 weeks during 2022-2023 for
 6   approximately €900,000 per week plus expenses. Notably, the charter to Ms.
 7   Kerimova occurred after the government claims her father purchased the vessel.
 8   Had her father purchased the vessel, she would not have had to charter it through
 9   the Amadea’s yacht management company.
10         Ms. Kerimova completed the sea trial in October 2021 and took the January-
11   February 2022 charter trip, consistent with the September 2021 charter agreement.
12   Her father was not present during these trips. During Ms. Kerimova’s trips on the
13   Amadea, the crew referred to the guests with “G” code names, such as G1, G2, and
14   G3. This is common in the industry, as guests often prefer confidentiality, and it is
15   a shorthand way for the crew to communicate with one another about the guests
16   without having to remember names. The use of “G” codes does not suggest
17   ownership of a vessel, as “G” codes are used regardless of whether the owner is
18   using the vessel or a charter guest is chartering the vessel.
19         D.     After the long-term charter, the Amadea was heading to the
20                Philippines for five weeks of planned maintenance.

21         After Ms. Kerimova’s early 2022 charter, the Amadea sailed from the

22   Caribbean, through the Panama Canal, up the coast of Mexico for refueling before

23   setting sail across the Pacific Ocean. The vessel arrived in Fiji on or about April 12,

24   2022, where it was seized by the U.S. government. The vessel was scheduled to

25   10
       At the time she signed this charter agreement, Ms. Kerimova had been vetted
26   and approved to pay for this charter with her own funds by outside counsel for the
27   Amadea’s management company and charter broker, and had also been previously
     vetted by her own yacht broker, Burgess.
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                                      9
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 1   leave Fiji and head to the Philippines for approximately five weeks of maintenance
 2   and repairs. These destinations were planned months in advance.
 3   II.   THE POLITICAL BACKGROUND LEADING TO THE AMADEA’S SEIZURE
 4         On February 24, 2022, Russia began its special military operation in Ukraine
 5   and President Biden immediately responded by announcing that the U.S. would
 6   begin seizing the assets of wealthy Russians in the hope that these individuals would
 7   pressure Russian President Vladimir Putin to withdraw from Ukraine. Just days
 8   after the war’s start, in his State of the Union address on March 1, 2022, President
 9   Biden outlined actions that the U.S. would be taking in response:
10         Tonight, I say to the Russian oligarchs and the corrupt leaders who’ve
11         bilked billions of dollars off [Putin’s] violent regime: No more. . . .
           The United States Department of Justice is assembling a dedicated task
12         force to go after the crimes of the Russian oligarchs.
13         We’re joining with European Allies to find and seize their yachts, their
           luxury apartments, their private jets. We’re coming for your ill-
14         begotten gains. 11
15         The next day on March 2, 2022, U.S. Attorney General Merrick Garland
16   announced the launch of Task Force KleptoCapture (the “Task Force”), “an
17   interagency law enforcement task force dedicated to enforcing the sweeping
18   sanctions, export restrictions, and economic countermeasures that the United States
19   has imposed, along with allies and partners, in response to Russia’s unprovoked
20   military invasion of Ukraine,” actions “designed to isolate Russia from global
21   markets and impose serious costs for this unjustified act of war, by targeting the
22   crimes of Russian officials, government-aligned elites, and those who aid or conceal
23   their unlawful conduct.” The Task Force’s stated mission includes prosecuting
24   sanctions violations and “[u]sing civil and criminal asset forfeiture authorities to
25
26
27
     11
       President Biden’s State of the Union Address, THE WHITE HOUSE (Mar. 1, 2022),
     https://perma.cc/Z8Y2-9NUH.
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                                     10
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 1   seize assets belonging to sanctioned individuals or assets identified as the proceeds
 2   of unlawful conduct.”12
 3         On March 7, 2022, a YouTube channel named “eSysman SuperYacht News”
 4   posted a video on YouTube entitled, “Superyacht disappears the day of Russian
 5   invasion of Ukraine Ep49 SY News.”13 Without any sourcing, the YouTuber stated
 6   that while the Amadea’s “ownership [wa]s steeped in mystery,” the vessel was
 7   currently owned by sanctioned “Russian billionaire” Suleiman Kerimov. He also
 8   stated that the Amadea’s AIS had been turned off “for 11 days” starting on “the day
 9   of the invasion of Ukraine.” These statements were false.
10         This video got picked up by news outlets and its allegations were repeated in
11   articles published on the internet. The video also went viral among the crew, some
12   of whom expressed concern and asked the Captain if the owner of the Amadea was
13   sanctioned. In addition, around this time, about a week after President Biden’s
14   pronouncement, vendors of the Amadea began asking for confirmation that the
15   owner was not sanctioned. While the Captain knew that Mr. Khudainatov was the
16   owner, he needed documents confirming as such. As a result, the Captain asked the
17   Amadea’s yacht management company for those documents.
18         In response, on March 8, 2022, a representative from the yacht management
19   company sent an email to the Amadea’s Captain that explained that Mr.
20   Khudainatov owned the Amadea through the holding company Millemarin, which
21   was held in Mr. Khudainatov’s trust. Corroborating documents demonstrating Mr.
22   Khudainatov’s ownership of the Amadea were attached to the email.
23
24   12
        Attorney General Merrick B. Garland Announces Launch of Task Force
25   KleptoCapture, U.S. DEP’T JUST. OFF. PUB. AFFS. (Mar. 2, 2022),
     https://perma.cc/E286-7ZEC.
26   13
        eSysman SuperYachts, Superyacht disappears the day of Russian invasion of
27   Ukraine Ep49 SY News, YOUTUBE (Mar. 7, 2022),
     https://www.youtube.com/watch?v=F-1P8JafKO0.
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 1         Just three weeks after the eSysman video, on April 1, 2022, the government
 2   submitted a request for assistance to the Republic of Fiji seeking interviews of crew
 3   members and documents on board the Amadea. By this date, the government was
 4   pursuing a theory that the vessel was owned by Kerimov, upon information and
 5   belief, based on the rumors started by eSysman.
 6         The Amadea arrived in Fiji on April 12, 2022. That day, the FBI and other
 7   authorities interviewed three crew members at Los Angeles International Airport
 8   (“LAX”): a Captain, a Chief of Security, and a Chief Officer, who were on their
 9   way to Fiji to relieve their counterparts. 14 After these individuals refused to say that
10   Kerimov was the owner of the Amadea, law enforcement authorities revoked their
11   visas to enter the U.S. The authorities claimed that the crew members’ refusal to
12   name Kerimov as the Amadea’s owner and refusal to state that the Amadea was
13   heading to Russia constituted material misstatements of fact.
14         Late on April 12, 2022 (early morning of April 13, 2022 Fiji time), the FBI
15   and Fijian authorities interviewed five crew members from the Amadea in Fiji: the
16   other Captain, the Purser, the other Chief Officer, an Officer of the Watch, and the
17   other Chief of Security. 15 After his interview, the Captain provided to the authorities
18   the documents demonstrating Mr. Khudainatov’s ownership of the Amadea that he
19   had received on March 8. According to these crew members, none of them
20   identified Kerimov as the owner of the Amadea:
21
22   14
        The Amadea had two sets of crew members, i.e., two Captains, two Chief
23   Officers, and so on. This permitted each crew member to rotate two-month shifts
     with their counterpart or “back-to-back.” For example, while one Captain worked
24   two months, his “back-to-back” had those two months off.
25
     15
        In an effort to induce these individuals to make untruthful claims that fit the
     government narrative, U.S. law enforcement authorities falsely told all five of them
26   that three “employees” of the Amadea’s management company at LAX had
27   already admitted that Kerimov owned the vessel and they had tampered with
     documents to conceal Kerimov’s identity as the Amadea’s owner.
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 1          •     the Captain said that Kerimov was not the UBO of the Amadea;
 2          •     the Chief of Security said he believed, but did not have first-hand
 3                knowledge, that Mr. Khudainatov was the owner of the vessel;
 4          •     the Chief Officer said he did not know who owned the Amadea, but
 5                understood that it was the same gentleman who had always owned it;
 6          •     the Purser stated that the owner of the Amadea was Millemarin, but
 7                she did not know who owned Millemarin; and
 8          •     the Officer of the Watch said that he did not know who owned the
 9                Amadea.
10          The responses of all crew members who were interviewed by the authorities
11   were truthful. On the Amadea, as is typical of other megayachts, only the Captain
12   and the Purser were aware of the entity, Nereo and then Millemarin, that owned the
13   vessel. The Captain maintained on board the Certificate of British Registry that
14   identified Nereo and later Millemarin as the owner of the Amadea. The Purser
15   received invoices that identified Millemarin as the financially responsible party.
16   The rest of the crew, however, would not have had any reason to have first-hand
17   knowledge of the UBO, Mr. Khudainatov.
18   III.   THE APPLICATION FOR THE SEIZURE WARRANT
19          On the heels of these interviews, the government applied for a seizure
20   warrant. In support of its Application for a Warrant to Seize Property Subject to
21   Forfeiture, the government filed the Affidavit of FBI Special Agent Timothy J.
22   Bergen, in the United States District Court for the District of Columbia on April 13,
23   2022. 16
24
25   16
       While this version of the Affidavit is redacted, the theory the government relied
     on to seize the Amadea is set forth in contemporaneous publicly available filings in
26
     last year’s Fiji litigation. Just after the Seizure Warrant was authorized in the U.S.,
27   the government sent an urgent “Supplemental Request for Assistance” (the “U.S.
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 1         In his affidavit, Bergen, who then had only four years of experience with the
 2   FBI and no experience relevant to this matter, concluded that Kerimov purchased
 3   the Amadea in August 2021 and that Mr. Khudainatov served as Kerimov’s straw
 4   owner, and that Kerimov afterwards caused U.S. dollar transactions to support the
 5   operation of the vessel.17 Specifically, he swore to this belief based on the
 6   following:
 7         •      unnamed “members of the yacht brokerage community” who
 8                “believe[d]” that the Amadea was sold to Kerimov in or about 2021,
 9                Bergen Aff. ¶ 26;
10         •      Kerimov had previously toured the Amadea, Bergen Aff. ¶ 26(b);
11         •      a name change in the ownership of the Amadea on August 16, 2021,
12                Bergen Aff. ¶ 27, U.S. Bergen Aff. ¶ 32;
13
14   Request”), dated April 13, 2022, the same date of the U.S. Bergen Affidavit. Fewer
15   than ten days later, an unredacted Bergen Affidavit was filed in Fiji, and based on
     its length appears to be substantially similar to the U.S. Bergen Affidavit. The
16   arguments made herein are based on the allegations in the Fiji version and the U.S.
17   Request, unless otherwise noted. The government refused Petitioners’ request for a
     copy of the unredacted U.S. Bergen Affidavit, and respectfully request that this
18   Court order the government to produce it.
19
     17
        According to the U.S. Bergen Affidavit, Bergen did not have any experience
     with the alleged crimes, including sanctions evasion, money laundering, or asset
20   seizure or forfeiture matters, or any experience with the megayacht industry or the
21   finances of Russian billionaires. Despite his lack of experience, Bergen concluded
     that Mr. Khudainatov was a straw owner for Kerimov. Mere conclusions like these
22   by an affiant are insufficient to establish probable cause, particularly where the
23   affiant, like Bergen, fails to “explain the nature of his expertise or experience and
     how it bears upon the facts” leading to the conclusions. United States v. Cervantes,
24   703 F.3d 1135, 1139–1140 (9th Cir. 2012) (citations omitted) (finding that the
25   district court erred when it held that the search at issue was based on probable
     cause, as “a general claim of expertise will not suffice”); see also Illinois v. Gates,
26   462 U.S. 213, 239 (1983) (finding that “wholly conclusory statement[s]” in a
27   warrant affidavit are inadequate because they give the magistrate no basis to make
     a judgment regarding probable cause).
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 1         •      the Amadea’s yacht broker said in July 2021 that it was available for
 2                viewing, but said in October 2021 that it was no longer available for
 3                viewing, Bergen Aff. ¶ 28;
 4         •      “multiple” unnamed crew members who “identified” Kerimov as the
 5                owner of the Amadea, Bergen Aff. ¶ 34(a);
 6         •      members of Kerimov’s family took trips on the Amadea, and code
 7                names were used for them during these trips, Bergen Aff. ¶¶ 34(a)-(d),
 8                35(b)-(d);
 9         •      members of Kerimov’s family scheduled a Caribbean trip for early
10                2022 and discussed a travel agenda for later in 2022 and 2023, and
11                requested modifications to the yacht, Bergen Aff. ¶¶ 35(e)-(h); and
12         •      the Amadea sought to evade detection by turning off its AIS, and was
13                heading to Russia. Bergen Aff. ¶¶ 36, U.S. Bergen Aff. ¶¶ 43, 59.
14         Bergen concluded that Mr. Khudainatov was a straw owner for Kerimov to
15   conceal Kerimov’s ownership. In support of that erroneous claim, Bergen stated
16   that Mr. Khudainatov was not wealthy enough to own two yachts because, in part,
17   he was not included on the 2022 Forbes billionaires list.18 Bergen Aff. ¶¶ 31-33.
18   And Bergen claimed that the March 8 documentation demonstrating Mr.
19   Khudainatov’s ownership of the Amadea was part of the scheme to conceal
20   Kerimov’s ownership. Bergen Aff. ¶ 29.
21         Bergen then listed invoices relating to the Amadea that were addressed to
22   Millemarin, and payments made on behalf of the Amadea, but with no evidence that
23   any payments were made by or in any way connected to Kerimov. Bergen Aff. ¶¶
24   29, 40; U.S. Bergen Aff. ¶ 48. Nevertheless, Bergen stated that Kerimov caused
25   payments to be made through U.S. financial institutions or in U.S. dollars on behalf
26
27
     18
       A magazine’s list should not be the basis of, or suffice as evidence for, any U.S.
     government enforcement action.
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 1   of the Amadea. Bergen Aff. ¶¶ 38-43. The Bergen Affidavit concluded that there
 2   was probable cause to believe that Kerimov committed sanctions evasion pursuant
 3   to 50 U.S.C. § 1705(a) (“IEEPA”), and money laundering and conspiracy pursuant
 4   to 18 U.S.C. §§ 1956(a)(2) & (h), rendering the Amadea subject to seizure and
 5   forfeiture, as it was either “involved in” a money laundering transaction under §
 6   1956 or “constitutes” “proceeds traceable” to sanctions violations under IEEPA.
 7   Id.; U.S. Bergen Aff. ¶¶ 5, 18-22, 54-57.
 8         The Bergen Affidavit also falsely claimed a need for exigency. U.S. Bergen
 9   Affidavit ¶ 59. Bergen asserted that while paperwork showed that the Amadea’s
10   next destination was the Philippines, there was “reason to believe” that it was
11   heading to Russia. Id. Bergen asserted that many sanctioned oligarchs made efforts
12   to move their yachts to Russia or other safer jurisdictions, and that the route taken
13   by the Amadea suggested that it “may” have been doing the same. Id. Bergen’s
14   “reason to believe” was baseless.
15         It was upon this application that U.S. Magistrate Judge G. Michael Harvey
16   authorized the warrant (“Seizure Warrant”) the day it was filed, April 13, 2022.
17   Armed with that warrant, the U.S. asked the Fijian authorities to give effect to the
18   Seizure Warrant and serve it on the Amadea, by sending an urgent “Supplemental
19   Request for Assistance in the Investigation of” Kerimov (the “U.S. Request”).
20   IV.   POST-SEIZURE EVENTS
21         The U.S. sought to effectuate the Seizure Warrant on the Amadea in Fiji.
22   Kerimov was named in the Fiji court action, but he never appeared or claimed any
23   interest in the vessel. Petitioners, however, intervened in the Fiji court action as the
24   owners from the outset and challenged the seizure. The Fiji Supreme Court
25   ultimately permitted the U.S. to take the Amadea from Fiji. On June 7, 2022, U.S.
26   authorities sailed the Amadea from Fiji to San Diego, California, where the vessel
27   has remained ever since.
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 1         The DOJ has been parading the Amadea around as the poster child of
 2   President Biden’s policy. Upon its seizure, the DOJ issued a press release in which
 3   the Attorney General declared, “there is no hiding place for the assets of individuals
 4   who violate U.S. laws . . . [a]nd criminals who enable the Russian regime,” and that
 5   the DOJ would be “relentless in [its] efforts to hold accountable those who facilitate
 6   the death and destruction we are witnessing in Ukraine.” 19 Weeks later, a DOJ
 7   official publicly stated, “Let’s get to the juicy stuff: the yachts. . . . We recovered
 8   a Fabergé—or alleged Fabergé egg—on [the Amadea], so it just gets more and more
 9   interesting.” 20 There was never a Fabergé egg on the Amadea. Further, another DOJ
10   official publicly claimed that after the war started, the Amadea “tried to go dark.”
11   However, this statement was knowingly false: publicly available GPS trackers for
12   the vessel prove that the Amadea never went dark. The DOJ’s claims appear
13   calculated to legitimize its wrongful seizure.
14         For the past year and a half, the vessel has been sitting idle in the waters of
15   San Diego, while U.S. taxpayers have shelled out millions of dollars for its upkeep.
16   The government, via the U.S. Marshals Service, is required to maintain custody and
17   control management of the Amadea, including safeguarding and preserving its
18   value.21 The Amadea requires daily, weekly, monthly, and annual maintenance and
19   servicing, and without it, the seaworthiness and safety of the vessel, the crew, and
20   the area where it is located is compromised. Not only has the vessel depreciated in
21   value during this time, but its current condition is unknown to Petitioners. And the
22
23   19
        $300 Million Yacht of Sanctioned Russian Oligarch Suleiman Kerimov Seized by
24   Fiji at Request of United States, U.S. DEP’T JUST. OFF. PUB. AFFS. (May 5, 2022),
25   https://perma.cc/HV3Q-AQH2.
     20
        The Aspen Institute, The New Russian Empire?, YOUTUBE (Jul. 20, 2022),
26   https://www.youtube.com/watch?v=iRPSYBmv5yQ&t=3644s (1:04:42-1:06:35).
27
     21
        28 C.F.R. § 0.111(i); see also Asset Forfeiture Policy Manual (2023) Chap. 1,
     Sec. I. A, Chap. 2, Sec. II. A, Chap. 10, Sec. I. A.
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                                     17
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 1   government has refused to provide Petitioners with detailed reports of the Amadea’s
 2   condition and the maintenance the vessel has received since in U.S. custody.
 3         On September 28, 2023, the government notified Petitioners that it had closed
 4   its criminal investigation of Mr. Khudainatov regarding the Amadea, essentially
 5   admitting its inability to prove the allegations in the Bergen Affidavit. And yet, the
 6   government continues to hold the Amadea without any legal basis to do so.
 7   Petitioners have no other recourse than to file this action to seek the return of the
 8   Amadea to its rightful owner, Mr. Khudainatov.
 9                                      ARGUMENT
10   I.    PETITIONERS SATISFY THE RAMSDEN FACTORS; THIS COURT SHOULD
11         EXERCISE ITS EQUITABLE JURISDICTION

12         The government has seized the Amadea, but has not initiated any proceedings
13   to provide its owner any due process, and has recently closed its investigation of
14   Mr. Khudainatov relating to the Amadea. Under these circumstances, a motion
15   pursuant to Federal Rule of Criminal Procedure 41(g) is the proper vehicle for
16   Petitioners to seek the return of the Amadea. Ramsden v. United States, 2 F.3d 322,
17   324 (9th Cir. 1993) (“[D]istrict courts have the power to entertain motions to return
18   property seized by the government when there are no criminal proceedings pending
19   against the movant.”); United States v. Martinson, 809 F.2d 1364, 1369-70 (9th Cir.
20   1987). Federal Rule of Criminal Procedure 41(g) provides:
21         MOTION TO RETURN PROPERTY. A person aggrieved by an unlawful
           search and seizure of property . . . may move for the property’s return.
22         The motion must be filed in the district where the property was seized.
23         The court must receive evidence on any factual issue necessary to
           decide the motion. If it grants the motion, the court must return the
24         property to the movant, but may impose reasonable conditions to
25         protect access to the property and its use in later proceedings.
26         Where, as here, the government has closed its investigation of Mr.
27   Khudainatov relating to the seized property, the owner of the property is presumed
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 1   to have a right to its return, regardless of whether the original seizure was lawful.
 2   Martinson, 809 F.2d 1364, 1369-70. However, as demonstrated below, the seizure
 3   was unlawful, which also demonstrates that the government has no factual or legal
 4   basis upon which to seek forfeiture of the vessel.
 5         Rule 41(g) filings are considered the same as a civil action in equity.
 6   Ramsden, 2 F.3d at 324; see also Ibrahim, 522 F.3d at 1007-1008 (finding that when
 7   no criminal proceedings are pending, the district court is to treat a Rule 41(g) motion
 8   as a civil complaint and not as a motion for summary judgment); United States v.
 9   Ritchie, 342 F.3d 903, 907 (9th Cir. 2003). 22 In deciding whether to exercise
10   equitable jurisdiction in these matters, the Ninth Circuit considers four factors
11   referred to as the “Ramsden Factors”: (A) whether the government displayed a
12   callous disregard for the constitutional rights of the movant; (B) whether the movant
13   has an individual interest in and need for the property he wants returned; (C)
14   whether the movant would be irreparably injured by denying return of the property;
15   and (D) whether the movant has an adequate remedy at law for the redress of his
16   grievance. Ramsden, 2 F.3d at 325. The Court is only required to find that the
17   “balance of equities tilts in favor of reaching the merits” of the Rule 41(g) motion;
18   in such instances, the district court should exercise its equitable jurisdiction to
19   entertain the motion. Ramsden, 2 F.3d at 326 (even where one of the four factors
20   was not met (irreparable harm), the district court did not abuse its discretion in
21   exercising its equitable jurisdiction). Here, the balance of equities clearly tilts in
22   favor of Petitioners, giving this Court equitable jurisdiction over this matter.
23
24
25
26   22
       As this Court is required to treat this motion as a civil complaint, Petitioners
27   have not set forth every fact in support of their requested relief, and have not
     submitted evidence, and reserve the right to do so as this case proceeds.
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 1         A.     The government callously disregarded the Fourth Amendment by
 2                seizing the vessel based on a false and misleading affidavit.

 3         The Fourth Amendment to the United States Constitution requires warrants

 4   to be based on a finding of probable cause. U.S. CONST. amend. IV. The government

 5   here callously disregarded this constitutional requirement by filing an affidavit to

 6   obtain the Seizure Warrant based on false and misleading statements that were

 7   material to the finding of probable cause. The government also likely omitted

 8   available exculpatory facts, which would reveal the lack of probable cause.

 9         Specifically, the Bergen Affidavit:

10         •      includes materially false statements (and likely omits exculpatory

11                statements) as to what witnesses told investigators about the yacht’s

12                ownership (the central issue in the case);

13         •      relies on persons who, as the government should have known, did not
14                have reliable or first-hand knowledge of ownership;
15         •      presents certain facts as evidence of ownership although the
16                government knew or should have known (based on yachting industry
17                practice) that these facts did not establish ownership;
18         •      draws unsupported conclusions based on the affiant’s “training and
19                experience,” without establishing the affiant’s qualifications to draw
20                such conclusions (Bergen does not have any experience with sanctions
21                cases or the yachting industry);
22         •      fails to link any payment related to the Amadea to Kerimov; and
23         •      falsely states that the Amadea was seeking to evade detection after the
24                conflict in Ukraine started, when the government knew or should have
25                known that the Amadea was publicly trackable during this time.
26         By filing the Bergen Affidavit in this way, the government either knowingly
27   presented false statements and omitted material evidence that contradicted their
28
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 1   chosen conclusion, or were reckless in failing to ensure that the facts relied upon
 2   equated to evidence of ownership. Once the “evidence” put forth by the government
 3   in its request for the Seizure Warrant is placed under even the slightest scrutiny, the
 4   theory that Kerimov owns the Amadea disintegrates, as does the ability to establish
 5   probable cause that any crime was committed justifying the seizure or forfeiture of
 6   the Amadea.
 7                 1. The Bergen Affidavit includes falsified witness statements.
 8         The Bergen Affidavit states that “[m]ultiple crew members identified
 9   Kerimov as the true owner of the AMADEA . . . .” Bergen Aff. ¶ 34(a). Petitioners
10   submit that this is an outright falsehood, and Bergen’s misstatements on this point
11   could not have been inadvertent.
12         Brief summaries of the crew member interviews are set forth in the U.S.
13   Request, which the DOJ submitted to Fijian law enforcement seeking Fiji’s legal
14   assistance in this matter.23 These five crew members took contemporaneous notes
15   of what they said during these interviews, and the notes of at least two of these crew
16   members do not align with the government’s summaries. According to the
17   government’s summaries, one crew member supposedly said that he “understood”
18   Kerimov to be the owner, while another supposedly said that Kerimov bought the
19   Amadea in the fall of 2021 in a “backdoor Russian deal.” According to the crew
20   member notes, however, not one crew member said Kerimov owned the vessel.
21         Rather, the notes show that one crew member unambiguously denied that
22   Kerimov was the UBO of the Amadea (the Captain). And two others denied
23   knowing who the UBO was (the Purser and the Officer of the Watch).
24         The remaining two crew members told the government that they believed that
25   Mr. Khudainatov (or the man who had always owned the vessel) was the owner (the
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27    Notably, it does not appear that the U.S. Request was provided to the U.S.
     23

     magistrate judge as part of the application for the Seizure Warrant.
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 1   Head of Security and the Chief Officer). Remarkably, the government’s summaries
 2   are consistent with the crew members’ notes on this point, that two crew members
 3   identified Mr. Khudainatov as the Amadea’s owner, but this information was not
 4   included in the Bergen Affidavit filed in Fiji, and likely not included in the version
 5   filed in the U.S.
 6         In sum, not one of these witnesses told the authorities that Kerimov owned
 7   the vessel, and in fact two crew members identified Mr. Khudainatov as the owner.
 8   If the U.S. Bergen Affidavit relies in any way on one or more crew members saying
 9   that Kerimov owned the Amadea, and/or omits the exculpatory statements of the
10   other two crew members who identified Mr. Khudainatov as the Amadea’s owner,
11   this Court should invalidate the Seizure Warrant. Franks v. Delaware, 438 U.S.
12   154, 156 (1978).
13         To the extent that two crew members said anything close to what the
14   government claimed in the U.S. Request (that the vessel was owned by Kerimov),
15   the only reasonable explanation is that any such belief was based on rumors that
16   were spreading at that time. For example, the eSysman video, which was published
17   in early March, had spurred press reports repeating the falsehood that Kerimov
18   owned the vessel. Even if a crew member erroneously identified Kerimov as the
19   owner—which is not reflected in their contemporaneous notes—at best they were
20   simply repeating what they had heard or read on the internet, rather than speaking
21   from any first-hand knowledge. The investigators either failed to probe the basis of
22   their purported statements, or intentionally excluded from the Affidavit the fact that
23   they knew these witnesses were simply repeating unverified rumors. This can only
24   be described as callous disregard for the facts and the law. See In re Search
25   Warrants Served on Home Health & Hospice Care, Inc., No. 96-4813, 1997 WL
26   545655, at *1, *7 (4th Cir. 1997) (affirming the district court’s order to return seized
27   property based, in part, on a finding that federal agents re-worded a witness
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 1   statement to attribute knowledge to that witness when in fact the witness told the
 2   agents he did not possess such knowledge); United States v. Cortina, 630 F.2d 1207,
 3   1213 (7th Cir. 1980) (suppressing evidence where FBI agent deliberately included
 4   false witness statements in an affidavit); United States v. Brown, 631 F.3d 638, 649
 5   (3d Cir. 2011) (holding that “a court may properly infer that an affiant acted with
 6   reckless disregard for the truth where his affidavit contains an averment that was
 7   without sufficient basis at the time he drafted it”).24
 8                2. The Bergen Affidavit relies on unidentified witness statements
 9                   giving the false impression that the witnesses had a sufficient
                     basis of knowledge.
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           The Bergen Affidavit presents the evidence of these crew member witnesses
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     and others as if they would have had first-hand knowledge of the identity of the
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     UBO of the vessel, when, in fact, they did not, and as a matter of industry standards
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     would not. The Bergen Affidavit fails to identify any of the witnesses on which it
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     relies and fails to explain why their statements should be credited.
15
           It is common knowledge in the megayacht industry that crew members are
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     often unaware of the identity of the UBO. Such was the case with the Amadea.
17
     Ultimate ownership information is typically kept confidential for legitimate
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     purposes, such as a desire for privacy and security. These reasons have nothing to
19
     do with evading U.S. sanctions, let alone any U.S. law. In addition, vessels like the
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     Amadea are typically owned by entities, like Millemarin, and not directly by
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     individuals. And the ownership documentation kept on board—at least prior to the
22
     operation in Ukraine—would show the name of the owning entity, and not the UBO,
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        While these cases were decided in the context of a Franks hearing where the
     issue was whether the affiant knowingly or recklessly disregarded the truth to
26   establish probable cause in support of a search warrant, Petitioners submit that this
27   standard should be considered analogous to whether the government callously
     disregarded the Fourth Amendment for purposes of a Rule 41(g) motion.
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 1   which was also the case with the Amadea. Only the Captain and the Purser would
 2   have access to the documents identifying the name of the owning entity. No crew
 3   member would typically have access to documents that identify the UBO of the
 4   owning entity. Thus, the fact that no documents were recovered from the Amadea
 5   that mentioned Mr. Khudainatov (except for the March 8, 2022 email demonstrating
 6   that he is the UBO) is consistent with standard operating procedures.
 7         The Bergen Affidavit also relies on unspecified “members of the yacht
 8   brokerage community,” who “believed” that the Amadea was sold to Kerimov.
 9   Bergen Aff. ¶ 26(b). These witnesses are similarly unidentified, and there is no
10   explanation as to why their purported statements should be credited. 25 Summaries
11   of these interviews in the U.S. Request do not provide any additional information.
12   And just like the crew members, unless any of these witnesses had seen first-hand
13   the documents that identify the UBO of Millemarin, these witnesses would have no
14   first-hand knowledge of the identity of the Amadea’s UBO.
15         Simply put, purported “beliefs” of unknown individuals do not constitute
16   evidence, particularly where those unknown individuals would not have a basis for
17   knowing the identity of the owner. Where the government asks a magistrate to credit
18   the testimony of an anonymous informant, it is required to offer information such
19   as that the informant is “known for the unusual reliability of his predictions” is “an
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     25
       Petitioners suspect that among these witnesses is a representative from Burgess,
     who served as the long-standing yacht broker to Kerimov and members of his
22   family. Burgess, however, is untrustworthy. For example, after Gulnara Kerimova
23   signed the charter agreement in September 2021, Burgess sent a letter to the
     Amadea’s management company demanding a commission on a sale of the
24   Amadea to Ms. Kerimova. Notably, after the government’s theory that the vessel
25   had been sold to Kerimov became public in the Fiji litigation, Burgess
     representatives demanded a commission again, but this time on the supposed sale
26   to Kerimov in explicit reliance on the Fiji litigation, seeking to cash in on the
27   rumor that they themselves relayed to law enforcement in the first place. Any
     witness from Burgess in this matter, therefore, is conflicted and unreliable.
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 1   unquestionably honest citizen,” or provides an “explicit and detailed description of
 2   alleged wrongdoing.” Gates, 462 U.S. at 233-34. Further, “[i]f an informant’s tip is
 3   the source of the information, the affidavit must recite some of the underlying
 4   circumstances from which the . . . officer concluded that the informant . . . was
 5   credible or his information reliable.” Franks, 438 U.S. at 165; Cervantes, 703 F.3d
 6   at 1139 (“[T]he conclusory allegation, without any foundational facts, was akin to
 7   an anonymous tip and, consequently, was entitled to little weight.”). Neither the
 8   Bergen Affidavit nor the U.S. Request provides any of these facts or assurances. As
 9   such, these types of witness statements should lead a magistrate to disregard them
10   and find probable cause lacking. United States v. DeLeon, 979 F.2d 761, 765 (9th
11   Cir. 1992) (holding that no probable cause existed where the affidavit failed to
12   establish citizen informant’s qualifications or basis of knowledge for his assertions);
13   United States v. Stanert, 762 F.2d 775, 782 (9th Cir. 1985) (granting a Franks
14   hearing, in part, because the affidavit failed to provide the witness’s basis of
15   knowledge that the defendant was engaging in criminal activity and “could very
16   well have been reporting a casual rumor”); United States v. Kolodziej, 712 F.2d 975,
17   977 (5th Cir. 1983) (finding insufficient probable cause when witnesses provided
18   conclusory statements without setting forth any facts demonstrating the witnesses’
19   basis of knowledge or why these witnesses should be deemed reliable).
20                3. The Bergen Affidavit asserts certain facts as evidence of
21                   ownership, when the government knew they were not.

22         The Bergen Affidavit sets forth certain facts as if these facts were evidence
23   of ownership when the government knew, or should have known, they were not. In
24   doing so, the government either failed to consult disinterested experts about the
25   yachting industry, or obtained that information and deliberately failed to include it
26   in the Bergen Affidavit because it did not support its desired conclusion. In any
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 1   event, these facts should not be credited for purposes of establishing probable cause
 2   that Kerimov owns the Amadea.
 3         First, the Bergen Affidavit relies heavily on the fact that Kerimov’s adult
 4   daughter and her family took trips on the Amadea. Bergen Aff. ¶¶ 34(c)-(d), 35(b)-
 5   (f). It is undisputed that Gulnara Kerimova and her family chartered the Amadea
 6   for four weeks from January 14, 2022 to February 16, 2022 in the Caribbean, and
 7   that she tested the vessel for a few days during the previous October. It is also
 8   undisputed that Ms. Kerimova intended to charter the Amadea for 20 weeks during
 9   2022-23. The October trial, the Caribbean trip, and the intention to charter the vessel
10   for 20 weeks are all memorialized in a charter agreement between Ms. Kerimova
11   and Millemarin, as brokered by the Amadea’s yacht management company and
12   broker. Finally, the government has set forth no evidence that Kerimov is connected
13   in any way to the charterer Millemarin, the Amadea’s owning company. Had
14   Kerimov actually purchased the yacht, it follows that his adult daughter would not
15   have had to charter the vessel, particularly from Mr. Khudainatov’s broker. Thus,
16   the fact that Ms. Kerimova chartered the vessel from an entity unconnected to her
17   father is plain evidence that her father did not own the vessel.
18         In addition, the evidence—as acknowledged in the Bergen Affidavit—shows
19   that Ms. Kerimova’s father was not present on the vessel during her trips. In
20   paragraph 35(b), the Affidavit states that emails refer to “Kerimov’s daughters and
21   son being aboard the AMADEA in January and February 2022,” and includes their
22   personal “preferences and habits aboard the yacht.” The documents Bergen relies
23   on do not include Kerimov as a guest for that trip. Similarly, in paragraph 35(c),
24   Bergen cites to emails attaching records for Gulnara Kerimova’s mother, and
25   Gulnara’s children and adult siblings, which were required in order to travel to the
26   British Virgin Islands. Notably absent are required travel documents for Kerimov
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 1   himself. In fact, Kerimov never chartered the vessel and was never a guest on
 2   anyone else’s charter on the Amadea.
 3         Moreover, Bergen’s assertion that “Kerimov himself made his preferences
 4   known to the crew” is false. Bergen Aff. ¶ 35(i). The documents Bergen relies on
 5   are handover notes from the main deckhand to his counterpart referring to a possible
 6   “G0 guest trip.” Based on a different email, the Bergen Affidavit wrongfully
 7   concludes that Kerimov was G1, where the email stated “Mme [Madame] advised
 8   me that G1 will be joining her and her kids for phase 2 Caribbean.” Bergen Aff. ¶
 9   35(e). No document, however, identifies Kerimov as G0 or G1.
10         In addition, the Bergen Affidavit alleges that the use of code names for guests
11   on the Amadea is evidence of an intent to conceal the identity of Kerimov and his
12   family. Bergen Aff. ¶¶ 34(b), 35(d), 35(e), 35(k). However, the use of code names
13   in the luxury yachting industry is a common practice and is in no way evidence of
14   an intent to conceal the identities of sanctioned individuals. Rather, the practice is
15   used to protect the privacy of guests, and so the crew can speak internally about
16   guests without having to remember names. Code names, such as G1, G2, and G3,
17   are used regardless of whether the guests are owners or charterers. Either the
18   investigators knew that the use of code names was a common industry practice, and
19   intentionally decided to omit that from the affidavit, or were reckless in not taking
20   steps to understand the significance—or lack thereof—of the use of code names in
21   connection with their case.
22         Third, the Bergen Affidavit claims that “Kerimov’s family members”
23   “demanded changes to the yacht.” Bergen Aff. ¶ 35(g)-(h). It is true that Ms.
24   Kerimova made requests for changes to the Amadea, given that she was planning
25   to pay almost $20 million to charter it for several months. But none of these
26   requested changes: (1) were outside a reasonable budget given the value of the
27   charter payments; (2) were required to be completed; (3) could be completed
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 1   without approval from the owner, Mr. Khudainatov; or (4) had to be approved by
 2   Mr. Khudainatov, but could be if determined they would further increase the value
 3   and appeal of the yacht for a possible future sale. Again, requests like these are not
 4   unusual for long-term charterers, especially if the changes will be paid for by the
 5   charterer with the owner’s approval. In other words, requests for alterations under
 6   these circumstances are not proof of ownership.
 7         Fourth, the Bergen Affidavit’s theory that Kerimov bought the Amadea is
 8   premised on the change in the Amadea’s owning company in August 2021. Bergen
 9   Aff. ¶ 27; U.S. Bergen Aff. ¶ 32. As set forth above, Mr. Khudainatov is and always
10   has been the Amadea’s UBO. The change in the Cayman Islands Registry simply
11   reflected the transfer from Nereo to Millemarin, with Mr. Khudainatov remaining
12   the UBO of the vessel and its financially responsible party. At the time of the
13   Amadea’s seizure, Mr. Khudainatov was the UBO of Millemarin. Notably missing
14   from the Bergen Affidavit is any evidence that connects Kerimov to Millemarin—
15   because there is none.
16         Fifth, the Bergen Affidavit states that because the vessel was no longer
17   available for viewing in the fall of 2021, that somehow corroborates that it had been
18   recently sold. Bergen Aff. ¶ 28. Even if that statement were true, it is consistent
19   with the fact that the vessel was, in fact, taken off the market to make it more
20   desirable to serious potential buyers, and is not evidence of a sale.
21         Sixth, the Bergen Affidavit claims that “[i]n or about late 2020 or early 2021,
22   an inspection of the Amadea was arranged for Kerimov, and Kerimov personally
23   toured the yacht.” Bergen Aff. ¶ 26(b). Kerimov did tour the vessel, and decided
24   not to purchase it because, among other things, he did not like its interior and
25   various technical aspects. He also visited it in October 2021, prior to his daughter’s
26   long-term charter, to provide his thoughts on ways to improve her experience while
27   chartering it, and was critical of certain aspects of the vessel during this visit.
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 1         None of the above-described facts constitutes evidence of ownership. If
 2   Bergen included these facts as evidence of ownership in the U.S. Bergen Affidavit,
 3   he either deliberately ignored industry norms and failed to disclose them to the court
 4   because they did not support the conclusion he wanted the court to reach, or he was
 5   reckless in failing to consult industry experts as to the meaning to glean from these
 6   facts. When an affidavit fails to include readily discoverable information about
 7   industry norms that place these facts in their proper context because it undercuts the
 8   desired conclusion, this is callous disregard of the Fourth Amendment. United
 9   States v. Chesher, 678 F.2d 1353, 1360-61 (9th Cir. 1982) (finding that an affidavit
10   which incorrectly named a defendant as a member of a biker gang was made with
11   reckless disregard for the truth because the affiant ignored several readily
12   discoverable facts showing that the defendant was no longer a member of the gang).
13                4. The Bergen Affidavit falsely claims that the Amadea sought to
14                   evade detection, when readily available information showed
                     otherwise.
15
           As part of its “evidence” that Kerimov owns the Amadea, the Bergen
16
     Affidavit states that the vessel “turned off its [AIS system] on February 24, 2022,
17
     almost immediately after the start of the Russian invasion of Ukraine, and did so
18
     intermittently thereafter,” in an effort to evade detection by the authorities. Bergen
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     Aff. ¶ 36; U.S. Bergen Aff. ¶¶ 43, 59. However, open-source reporting shows that
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     the Amadea’s location was publicly trackable every fifteen minutes between
21
     February 24, 2022 and April 12, 2022. The image below is from
22
     www.vesselfinder.com, an online AIS ship tracker that anyone can access. The
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     route the Amadea took from the Caribbean to Fiji between those dates is indicated
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     by the blue line on the map below based on data retrieved from that website.
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 8   While the system may have been turned off for brief moments for legitimate
 9   technical reasons, the boat’s precise location was immediately knowable by the
10   public every fifteen minutes. In addition, as is typical of megayachts, other systems
11   on the Amadea track and convey the vessel’s location to different jurisdictions.
12         Further, contrary to the assertions in the Bergen Affidavit, there was no plan
13   to go to Russia. As noted above, the vessel was heading to the Philippines for
14   weeks-worth of maintenance and servicing that had been planned months in
15   advance and was heavily documented in emails amongst crew members who were
16   responsible for making these plans, emails that the government surely has. In
17   addition, none of the required applications were made in order to enter Russia,
18   including but not limited to requests for (i) crew visas, (ii) customs clearance, and
19   (iii) special shipping declarations. Thus, there was no effort to evade detection and
20   escape to Russia, and these allegations are further proof of the government’s callous
21   disregard. Chesher, 678 F.2d at 1360-61.
22                5. The Bergen Affidavit obscures the absence of any link between
23                   Kerimov and the U.S. transactions that provide the entire basis
                     for the seizure.
24
           As demonstrated above, the Bergen Affidavit fails to establish probable cause
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     that Kerimov owns the Amadea, or that the U.S. transactions were made by him or
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     on his behalf for the benefit of the Amadea. To be clear, the government does not
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 1   allege that the purported sale of the vessel to Kerimov was itself a sanctions
 2   violation or otherwise a violation of law. Rather, the allegation is that only after the
 3   vessel was allegedly purchased by Kerimov—which it never was—and payments
 4   were made to vendors in U.S. dollars or through U.S. financial institutions for its
 5   upkeep, did a crime occur.
 6         In an attempt to support that allegation, the Bergen Affidavit lists a series of
 7   invoices addressed to Millemarin that were to be paid in U.S. dollars that were
 8   found on the Amadea, but does not provide evidence that any of these invoices were
 9   actually paid or attempted to be paid. Bergen Aff. ¶ 40.26 Unpaid invoices, on their
10   own—even if sent to a sanctioned individual, which did not occur here—do not
11   constitute sanctions evasion or money laundering.
12         The Bergen Affidavit then describes payments that were actually made on
13   behalf of the Amadea, including a mere $6,651.50 payment for agent fees in
14   Antigua, and U.S. dollar payments in an unspecified amount to the Cayman Islands
15   Shipping Registry. Bergen Aff. ¶¶ 41-42. However, the government fails to set forth
16   even a scintilla of evidence linking any of these payments to Kerimov. Without
17   evidence that these payments were made by or on behalf of Kerimov, there is no
18   probable cause that any crime was committed.
19         Even assuming arguendo that the above payments constituted sanctions
20   evasion, the Amadea does not constitute “proceeds” of these alleged “unlicensed
21   dollar transactions,” which amount to a mere fraction of the vessel’s worth. Even
22   $1 million in U.S. dollar transactions, which is far more than what the government
23   alleges took place here, constitutes a paltry .003 per cent of the yacht’s worth. What
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25   26
       The U.S. Bergen Affidavit includes the same number of subparagraphs that
26   delineate the invoices as is included in the Fiji version, although the subparagraphs
27   in the U.S. version are redacted. U.S. Bergen Aff. ¶ 48. Thus, Petitioners believe
     the same invoices are listed in both Affidavits.
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 1   would be forfeitable would be the items purchased, or the value thereof, by the
 2   violative payments. Under these circumstances, civil forfeiture of the Amadea,
 3   particularly the entirety thereof, is not permitted. See, e.g., United States v. Real
 4   Prop. & Premises, 657 F. Supp. 2d 1060 (D. Minn. 2009) (explaining it is well-
 5   established that where the government does not allege that real property was
 6   purchased with the proceeds of fraud, but rather that improvements to the property
 7   and property taxes were paid with illicit funds, the government may only seek
 8   forfeiture of the property in part) (citing United States v. 7725 Unity Ave. N, 294
 9   F.3d 954, 958 (8th Cir. 2002)).
10                                         * * *
11         Based on the foregoing, Petitioners submit that this Court should conclude
12   that the government callously disregarded the Fourth Amendment’s probable cause
13   requirement, satisfying the first Ramsden factor.
14         B.     Petitioners own the Amadea, and therefore have an individual
15                interest in and need for the property.

16         Mr. Khudainatov’s interest in the property is clear: he is and always has been
17   the UBO of the Amadea, which is owned by his company Millemarin. In addition,
18   the transfer from Nereo to Millemarin does not prove a change in ownership to
19   Kerimov. This exact transfer is the event that the government alleges in the Bergen
20   Affidavit was the transfer to Kerimov. Bergen Aff. ¶ 27; U.S. Bergen Aff. ¶¶ 27,
21   32. However, Mr. Khudainatov still owned the vessel after the re-registration and
22   continued to be the financially responsible party to pay its invoices going forward.
23         There is no evidence that Mr. Khudainatov sold the vessel to Kerimov, either
24   in August 2021, or at any time. The types of events that must occur with the sale of
25   a vessel of this value and magnitude did not happen here. In the event of a sale, both
26   the seller and the buyer would hire major law firms to conduct transactional due
27   diligence, which would last months. Divers would submerge to inspect the
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 1   submerged part of the vessel. The vessel would be hoisted out of the water and dry-
 2   docked for a comprehensive survey to be conducted on behalf of the buyer. The
 3   final sale would usually be completed in international waters for taxation purposes.
 4   The new owner would typically replace the previous owner’s crew. None of these
 5   events occurred, and there were no other markers of a sale that took place in the
 6   time leading up to August 2021 or anytime thereafter. In addition, to the extent the
 7   allegations about the availability of viewings are credited, they are consistent with
 8   the fact that Mr. Khudainatov opted to take the Amadea off the market at the time.
 9         As the irrefutable owner of the Amadea, Mr. Khudainatov has an individual
10   interest in the vessel and the need for its return. See United States v. Harrell, 530
11   F.3d 1051, 1057 (9th Cir. 2008) (“The person from whom the property is seized is
12   presumed to have a right to its return”). He legally commissioned the building of
13   the AMADEA, and there is no evidence that it is contraband or that the government
14   has a factual and legal basis to forfeit it. Particularly given the government’s closure
15   of the investigation, Mr. Khudainatov is presumed entitled to its return. The
16   government here can set forth no justification for its continued possession. See
17   Martinson, 809 F.2d at 1369-70.
18         C.     Petitioners would be irreparably injured by denying the
19                immediate return of the property.

20         Mr. Khudainatov would be irreparably injured by the denial of the relief
21   requested for several reasons. Assets like the Amadea depreciate in value as time
22   passes. Mr. Khudainatov will never get back use and enjoyment of his property for
23   the past 18 months that the Amadea has been in U.S. custody. He has been unable
24   to sell or charter the vessel. The longer the vessel stays in U.S. custody, the more
25   tainted the asset will become to potential buyers as having been seized by the U.S.
26   government. Its value at the time it was seized has declined.
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 1         In addition to the mere passage of time leading to its depreciation, the
 2   AMADEA has likely not been properly maintained at the levels an owner would
 3   maintain it, while it has been in U.S. custody. Under federal regulation, the U.S.
 4   Marshals Service (“USMS”) has primary authority over “[m]aintenance of custody,
 5   management control, and disposal of property and money seized or forfeiture
 6   pursuant to any law enforced or administered by the Department of Justice.” 28
 7   C.F.R. § 0.111(i); see also Asset Forfeiture Policy Manual (2023) Chap. 10, Sec. I.
 8   A. Upon information and belief, the USMS has not been adequately maintaining
 9   the vessel and its substandard care has already resulted in significant depreciation
10   in value. The interior and exterior finishings require regular upkeep, and for the
11   interior temperature and humidity to be controlled at certain levels. Among other
12   significant issues, there was a hole in the hull of the vessel that Petitioners
13   understand has not yet been fixed. The current state of the vessel as well as the
14   government’s likely failure to maintain the vessel at appropriate levels has created
15   a situation where there is potential for economic and environmental disaster.
16         Lastly, the Amadea was personally designed by Mr. Khudainatov with great
17   care. It was his first commissioned megayacht, and he spent five years making his
18   vision for the vessel come to life. The Amadea has personal value to Mr.
19   Khudainatov, and if not returned, he will suffer irreparable injury. See Gibani v.
20   Barr, No. EDCV191009JGBKKX, 2019 WL 8112511, at *2 (C.D. Cal. Oct. 11,
21   2019) (finding that because the electronic devices contain items of personal value,
22   the movant would suffer irreparable injury if not returned).
23         D.     Petitioners have no adequate remedy at law.
24         As there has been no civil forfeiture proceeding or criminal indictment filed,
25   and in fact the government has closed its criminal investigation of Mr. Khudainatov
26   relating to the Amadea, Petitioners have no legal means for seeking the return of
27   the Amadea other than through this motion. Indeed, as the Ninth Circuit stated in
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 1   Omidi v. United States, 851 F.3d 859, 862-63 (9th Cir. 2017), “[o]wners of personal
 2   property worth more than $500,000 are not left without recourse to the courts when
 3   the government seizes their property and delays initiating judicial forfeiture
 4   proceedings for months or years on end,” as “[t]hey can file a [41(g)] motion.”
 5         Petitioners have been asking the government to return the Amadea since early
 6   September 2022. Petitioners made three attorney proffers to the DOJ and have
 7   voluntarily produced documents and other evidence in its efforts to convince the
 8   government to return the Amadea. Unfortunately, these negotiations came to an
 9   insurmountable impasse when the government continued to assert that Kerimov
10   owned the vessel with no evidence supporting that assertion. Petitioners’ only
11   recourse is to file this motion seeking the Amadea’s return. As of this filing, there
12   is no pending proceeding involving the Amadea, and the government has closed its
13   criminal investigation of Mr. Khudainatov relating to the Amadea. As such,
14   Petitioners have no adequate remedy at law and therefore satisfy this requirement.
15         Even if the government files a forfeiture action, this Court should
16   nevertheless retain jurisdiction of this case because the property is located in this
17   venue and venue is proper here. The government may attempt to forum shop where
18   they file a forfeiture action, but this Court should not countenance such
19   gamesmanship. The government chose this venue by sailing the vessel to San
20   Diego.
21   II.   PETITIONERS ARE PRESUMED ENTITLED TO THE AMADEA’S RETURN
22         If this Court decides to exercise its equitable jurisdiction over this matter—
23   which it should—Petitioners respectfully request that this Court order the return of
24   the Amadea. Where, as here, the government has abandoned its investigation and
25   cannot prove a basis to forfeit the vessel, the person from whom the property was
26   seized “is presumed to have a right to its return.” Martinson, 809 F.2d at 1369. In
27   addition, determining the merits of a request for the return of property under Rule
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 1   41(g) must be one of “reasonableness under all of the circumstances.” Ramsden, 2
 2   F.3d at 326 (quotations omitted). The Ninth Circuit continued that the government’s
 3   “retention of the property generally is reasonable if it has a need for the property in
 4   an investigation or prosecution.” Id.
 5          Here, there is no such need. Petitioners have demonstrated conclusively that
 6   the Amadea is owned by the Petitioners, as well as the fatal flaws in the Seizure
 7   Warrant that render the government’s seizure of the Amadea illegal in the first
 8   place. But to this very point, the government has since closed its criminal
 9   investigation into Mr. Khudainatov regarding the Amadea, conceding that it cannot
10   prove the basis to forfeit the Amadea that is set forth in the Bergen Affidavit. And
11   the government did so after executing multiple search warrants on the IT systems
12   of the Amadea; they collected everything they needed from the vessel, and the
13   evidence has fallen short of establishing probable cause that Kerimov owns the
14   vessel or proving the basis for a forfeiture. What the government did obtain from
15   the vessel were the ownership documents demonstrating that Mr. Khudainatov is
16   the UBO of the vessel. The government, therefore, cannot meet its burden and
17   justify its continued possession of the Amadea. Petitioners are confident, therefore,
18   that upon reviewing a complete record in this case, this Court will order the
19   government to release the Amadea to its rightful owner, Mr. Khudainatov.
20   III.   THIS COURT SHOULD GRANT PETITIONERS A FRANKS HEARING
21          The Bergen Affidavit is rife with demonstrable falsehoods, entitling
22   Petitioners to a hearing under Franks v. Delaware, 438 U.S. 154 (1978). In Franks,
23   the Supreme Court held that “where the defendant makes a substantial preliminary
24   showing that a false statement knowingly and intentionally, or with reckless
25   disregard for the truth, was included by the affiant in the warrant affidavit, and if
26   the allegedly false statement is necessary to the finding of probable cause, the
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 1   Fourth Amendment requires that a hearing be held at the defendant’s request.”
 2   Franks, 438 U.S. at 155-56.
 3         Here, the government knowingly or recklessly falsely stated that: crew
 4   members identified Kerimov as the true owner of the Amadea, when in fact they
 5   did not; the AIS system on the Amadea was turned off to evade detection, when in
 6   fact the AIS system remained on throughout its voyage; and invoices were paid by
 7   Kerimov, when in fact there is no evidence linking Kerimov to any vendor payment.
 8         As demonstrated above, the false statements attributed to the crew members
 9   and the likely omissions of the crew member statements who said that Mr.
10   Khudainatov owned the Amadea or that they did not know who did, are material to
11   the question of probable cause. First, these false statements and omissions go to the
12   key question of whether Kerimov, a sanctioned individual, owned the Amadea.
13   Second, a layperson who is unfamiliar with the megayacht industry would perhaps
14   give more weight than is due to the crew member statements regarding ownership.
15   Presenting this “evidence” in the Bergen Affidavit without explaining that crew
16   members on these types of vessels typically do not have first-hand knowledge of
17   vessel ownership appears intentionally misleading.
18         Without all of the above falsehoods, there is no probable cause. The Bergen
19   Affidavit is left with the statements of the unidentified members of the yacht-
20   brokerage community who did not have first-hand knowledge of who owned the
21   Amadea, the facts regarding Ms. Kerimova’s charter which do not equate to
22   ownership, and Bergen’s unsubstantiated conclusion that Mr. Khudainatov is a
23   straw owner for Kerimov without having the training, experience, or reliable
24   evidence to make that claim. As demonstrated above, each of these categories of
25   “evidence” is flawed in its own right, and even taken together do not amount to
26   probable cause that Kerimov owned the vessel. Because Petitioners have made a
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 1   substantial preliminary showing, Petitioners request a Franks hearing as part of this
 2   proceeding.
 3                                    CONCLUSION
 4         The Amadea’s seizure was purely political, and unlawful. The government
 5   spent more than a year and a half trying to develop evidence to prove ex post facto
 6   the knowingly flawed theory that Kerimov owned the Amadea, but the government
 7   failed to do so because it is simply not true. Given the government’s closure of its
 8   investigation, the government has no basis to continue to hold the Amadea, and no
 9   factual or legal basis to seek to forfeit the Amadea. Therefore, Mr. Khudainatov is
10   presumed entitled to its return. Petitioners respectfully request that this Court
11   exercise jurisdiction over this matter and order the return of the vessel to Mr.
12   Khudainatov.
13   Dated: October 23, 2023                /s/ Michael Jason Lee
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